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                                          NOTE: CHANGES MADE BY THE COURT
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    8                        UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10                                  SOUTHERN DIVISION
   11   ELIZABETH LAVALLE, individually           CASE NO.: SACV 08-01383 AHS (RNBX)
        and on behalf of all others similarly     JUDGE: HON. ALICEMARIE H. STOTLER
   12   situated,                                 COMPLAINT DATE: DECEMBER 4, 2008
   13               Plaintiffs,                   FINAL APPROVAL ORDER AND
                                                  JUDGMENT
   14         vs.
                                                  Date:      October 3, 2011
   15   CHEXSYSTEMS and DOES 1 to 10,             Time:      11:30 a.m.
        inclusive,                                Courtroom: 6-A
   16
                    Defendants.
   17

   18         WHEREAS, the above-referenced action currently is pending before this
   19   Court, alleging violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq.,
   20   California’s Consumer Credit Reporting Agencies Act, California Civil Code
   21   Sections 1785.1 through 1785.36, and California’s Unfair Competition Law,
   22   California Business and Professions Code Section 17200, et seq., against defendant
   23   ChexSystems, Inc. (“ChexSystems”) by plaintiff Elizabeth Lavalle (“Plaintiff”).
   24   ChexSystems has denied the allegations and asserted numerous defenses;
   25         WHEREAS, on March 25, 2011, the Court entered a Preliminary Approval
   26   Order preliminarily approving the settlement of the Action pursuant to the
   27   Stipulation and Agreement of Settlement (“Agreement”), which, together with the
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    1   exhibits annexed thereto, sets forth the terms and conditions of the settlement and for
    2   dismissal of this Action in its entirety with prejudice as against all Released Parties, as
    3   defined in the Agreement, upon the terms and conditions set forth therein;
    4            WHEREAS, counsel for the parties appeared before the Court and requested
    5   final approval of the settlement;
    6            WHEREAS, due and adequate notice of the settlement having been given pursuant
    7   to the Preliminary Approval Order and the Agreement, and the Court having
    8   considered all papers filed and proceedings conducted herein, and good cause appearing
    9   therefor, it is HEREBY ORDERED, ADJUDGED AND DECREED THAT:
   10            1.      All terms and phrases used in this Final Approval Order and Final
   11   Judgment shall have the same meanings ascribed to them in the Agreement, which is
   12   attached hereto as Exhibit 1.
   13            2.      This Court has jurisdiction over the subject matter of the Action and over
   14   all Parties, including all persons in the Settlement Class.
   15            3.      This Court previously preliminarily approved the settlement. This
   16   Court hereby finally approves the settlement, finds the settlement is, in all respects,
   17   fair, reasonable and adequate to, and in the best interests of, the Settlement Class (as
   18   defined below), and hereby directs that it shall be effectuated in accordance with its
   19   terms.        The Court further finds that Plaintiff and Class Counsel are adequate
   20   representatives of the Settlement Class.
   21            4.      In giving final approval of the Settlement, the Court finds that the
   22   Settlement Class consists of all persons who did not exclude themselves from the
   23   settlement and the Settlement Class, which is defined in the Agreement and the
   24   Preliminary Approval Order as:
   25                    All consumers, as defined by 15 USC Section 1681a(c)
                         who, on or after September 15, 2006 and up to and
   26                    including March 25, 2011, requested that ChexSystems
                         include a consumer statement of dispute on the consumer's
   27                    ChexSystems consumer report, but whose proposed
                         statement of dispute was rejected and not included by
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                     ChexSystems on the consumer’s ChexSystems consumer
    1                report.
    2          5.    The Court hereby dismisses the Action in its entirety with prejudice.
    3          6.    As of the date this Order becomes final, Plaintiff, and each Settlement
    4   Class Member who has not opted out, acknowledge full satisfaction of, and fully,
    5   finally and forever settle, release and discharge the Released Parties of and from, all
    6   Released Claims. Subject to the Court’s approval, all Settlement Class Members
    7   shall be bound by the Agreement and all of their Released Claims shall be released as
    8   against the Released Parties, even if they never received actual notice of the
    9   settlement prior to the Final Fairness Hearing.
   10          7.     Plaintiff, for herself and for each Settlement Class Member,
   11   acknowledges that she is aware that she may hereafter discover facts in addition to or
   12   different from those that she now knows or believes to be true with respect to the
   13   subject matter of these releases, but it is her intention to, and she does hereby, upon
   14   entry of this Final Approval Order and Judgment, fully, finally and forever settle and
   15   release any and all Released Claims, without regard to the subsequent discovery or
   16   existence of such different or additional facts. Plaintiff, for herself and for each
   17   Settlement Class Member, waives any and all rights and benefits afforded by
   18   California Civil Code section 1542, which provides as follows:
   19                A GENERAL RELEASE DOES NOT EXTEND TO
                     CLAIMS WHICH THE CREDITOR DOES NOT KNOW
   20                OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
                     THE TIME OF EXECUTING THE RELEASE, WHICH
   21                IF KNOWN BY HIM OR HER MUST HAVE
                     MATERIALLY    AFFECTED      HIS   OR   HER
   22                SETTLEMENT WITH THE DEBTOR.
   23

   24         Plaintiff and each Settlement Class Member understand and acknowledge the
   25   significance of this waiver of California Civil Code section 1542 and/or of any other
   26   applicable federal or state law relating to limitations on releases.
   27          8.     The Class Representative enhancement of $2,500.00 to Elizabeth
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    1   LaValle is fair and proper under the circumstances of this case.
    2         9.     The stipulated attorneys’ fees and costs award of $90,000.00 to
    3   Plaintiff’s counsel, Callahan, Thompson, Sherman & Caudill, LLP is fair and
    4   reasonable under the circumstances of this case.
    5         10.    The settlement and stipulated injunction is fair, reasonable, and adequate
    6   to the Settlement Class and to the public as a whole.
    7         11.    The Notice of settlement provided to the Settlement Class pursuant to
    8   the Preliminary Approval Order and the Agreement was the best notice practicable,
    9   consisting of the Mailed Notice and Claim Form sent to the Settlement Class
   10   Members. The Notice provided valid, due and sufficient notice of the Action, and of
   11   the proposed settlement, to all persons entitled to such notice, and the Notice fully
   12   satisfies the requirements of due process and the Federal Rules of Civil Procedure.
   13         12.    Without affecting the finality of this Final Approval Order and
   14   Judgment in any way, this Court hereby retains continuing jurisdiction over, inter
   15   alia: (a) implementation and administration of the settlement; (b) distribution of
   16   Settlement Payments to Settlement Class Members under the terms of the
   17   Agreement; and (d) all Parties hereto, for the purpose of enforcing and administering
   18   the Settlement.
   19         13.    The Parties shall bear their own attorneys’ fees and costs, except as
   20   otherwise ordered by the Court.
   21         IT IS SO ORDERED.
   22
             DATED: October 5, 2011.
   23

   24                                         ALICEMARIE H. STOTLER
   25                                          Honorable Alicemarie H. Stotler
                                               United States District Judge
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